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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 J.G.G., et al.,

         Plaintiffs,
                   v.                                  Civil Action No. 25-766 (JEB)


 DONALD J. TRUMP, et al.,

         Defendants.


                                            ORDER

       Given the finding of probable cause for contempt set forth in the accompanying

Memorandum Opinion, the Court ORDERS that:

       1. If Defendants opt to purge their contempt, they shall file by April 23, 2025, a

           declaration explaining the steps they have taken and will take to do so; and

       2. If Defendants opt not to purge their contempt, they shall instead file by April 23,

           2025, declaration(s) identifying the individual(s) who, with knowledge of the Court’s

           classwide Temporary Restraining Order, made the decision not to halt the transfer of

           class members out of U.S. custody on March 15 and 16, 2025.


                                                            /s/ James E. Boasberg
                                                            JAMES E. BOASBERG
                                                            Chief Judge
Date: April 16, 2025




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